OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction


                                         UNITED STATES DISTRICT COURT
                                                                        for the
                                                           Western District of North Carolina

                     United States of America                              )
                                v.                                         )
                                                                           )   Case No: 3:96CR105-007
              MARLOW E W ILLIAM HENDERSON
                                                                           )   USM No: 12616-058
Date of Previous Judgment: 05/15/1997                                      )   Christopher C. Fialko
(Use Date of Last Amended Judgment if Applicable)                          )   Defendant’s Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 174 months    months is reduced to Time served, plus 10 days .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                   35                                   Amended Offense Level:           33
Criminal History Category:                III                                  Criminal History Category:       III
Previous Guideline Range:                 210        to 262      months        Amended Guideline Range:         168       to 210   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
It is further ordered that as a condition of supervised release, the defendant shall submit to the local Residential Reentry
Center for a period not to exceed 90 days, with work release, at the direction of the U.S. Probation Officer.



Except as provided above, all provisions of the judgment dated 05/15/1997                              shall remain in effect.
IT IS SO ORDERED.

Order Date:          July 31, 2008


Effective Date:
                          (if different from order date)



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